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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

ANGELA HUDSON                                     )
                                                  )   Case No.
                Plaintiff,                        )
                                                  )   St. Louis County, Missouri
         vs.                                      )   Associate Division
                                                  )   No. 15SL-AC12130
MEDICREDIT, INC.                                  )
                                                  )   NOTICE OF REMOVAL OF ACTION
                Defendant.                        )   UNDER 28.U.S.C. §1331
                                                  )
                                                  )   (FEDERAL QUESTION
                                                  )   JURISDICTION)
                                                  )

                         NOTICE OF REMOVAL OF CIVIL ACTION

         Defendant Medicredit, Inc. (“Defendant”), pursuant to 28 U.S.C. § 1441, hereby removes

the above-styled action to this Court from the Circuit Court of St. Louis County, State of

Missouri. This is a civil action over which this Court has original subject matter jurisdiction

under 28 U.S.C. § 1331 in that Plaintiff's Petition asserts claims arising under 15 U.S.C. § 1692

et seq., the Fair Debt Collection Practices Act (the “FDCPA”). In support hereof, Defendant

states as follows:

                                       INTRODUCTION

         1.     On May 6, 2015, Plaintiff Angela Hudson (“Plaintiff”) filed her Petition in the

Associate Division of St. Louis County, Missouri thereby commencing the instant action styled,

Angela Hudson v. Medicredit, Inc., Cause No. 15SL-AC12130.

         2.     The one-count Petition relates to Defendant’s alleged attempt to collect on a debt

(the “Debt”) due and owing by Plaintiff to a third-party creditor (the “Creditor”).

         3.     Specifically, Plaintiff alleges that Defendant violated the FDCPA in its attempt to

collect the Debt.


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                             NOTICE OF REMOVAL IS TIMELY

         4.    Plaintiff filed her Petition on May 6, 2015.

         5.    Defendant was served with Plaintiff’s Petition on May 22, 2015.

         6.    This Notice of Removal is timely because it is filed within thirty (30) days of

Defendant’s receipt of service of the Petition and within one year of the commencement of this

action as required by 28 U.S.C. §1446(b).

                      FEDERAL QUESTION JURISDICTION EXISTS

         7.    The Court has original jurisdiction over this action under 28 U.S.C. § 1331 and

this case may be removed pursuant to 28 U.S.C. §1441(a) because it involves a federal question

based upon the FDPCA.

                        REMOVAL TO THIS DISTRICT IS PROPER

         8.    Venue is proper in the United States District Court for the Eastern District of

Missouri and is proper in the Eastern Division under 28 U.S.C. §§ 1441(a) and 1446(a) because

the Circuit Court for St. Louis County is located within the Eastern Division of this judicial

district. Venue is also proper under Local Rule 3-2.07(B) because the action being removed is a

civil action brought against a single defendant and the claim for relief arose in St. Louis County.

         9.    Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81-2.03, true and correct copies

of all pleadings on file with the St. Louis County Circuit Court to date are attached hereto as

Exhibit A.

         10.   Written notice of the filing of this Notice of Removal will be promptly served on

Plaintiff’s counsel and a copy has been filed with the Clerk of the Circuit Court of St. Louis

County, State of Missouri.

         11.   Defendant's Notice to Clerk of Filing Notice of Removal will also be promptly

filed with the Clerk of the Circuit Court of St. Louis County, State of Missouri.


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         12.   Defendant hereby reserves any and all rights to assert any and all defenses to

Plaintiff's Petition, including but not limited to failure to state a claim upon which relief can be

granted.

         13.   Defendant reserves the right to amend or supplement this Notice of Removal.

         14.   Defendant has not answered the Petition in state court, and will do so consistent

with Fed. R. Civ. P. 8(c).

         WHEREFORE, Defendant Medicredit, Inc. respectfully removes this action now pending

in the Circuit Court of St. Louis County, State of Missouri to this Court.



                                              Respectfully submitted,

                                              LATHROP & GAGE LLP


                                              /s/ Scott J. Dickenson
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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above pleading was served by the Court’s ECF system
on this 12th day of June, 2015 on counsel of record.



                                            /s/ Scott J. Dickenson




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